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                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


  (1) JOEY SHUTRUMP,              )
                                  )
              Plaintiff,          )
                                  )
  v.                              )                  Case No. 17-cv-22-JED-TLW
                                  )
  (2) SAFECO INSURANCE COMPANY OF )
  AMERICA, A Foreign Corporation, )
                                  )
              Defendant.          )

                              NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Safeco Insurance

  Company of America (“Safeco”) hereby removes the above-captioned action

  from the District Court of Tulsa County, State of Oklahoma, to the United States

  District Court for the Northern District of Oklahoma. In support of this removal,

  Safeco states as follows:

        1.     On June 20, 2016, Plaintiff Joey Shutrump ("Plaintiff") commenced

  an action in the District Court of Tulsa County, Oklahoma, entitled Joey Shutrump

  v. Safeco Insurance Company of America and Isidra Bautista, Case No. CJ-2016-02280

  (the "State Court Action"). A true copy of the state court docket sheet is attached
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  as Exhibit 1. All process, pleadings, and orders filed or served in the State Court

  Action are attached hereto as Exhibits 2 through 31.

        2.    Plaintiff is a citizen of Oklahoma residing in Tulsa County,

  Oklahoma. Defendant Safeco is a company organized under the laws of the State

  of New Hampshire with its principal place of business in Boston, Massachusetts.

        3.    Upon information and belief, Isidra Bautista ("Bautista") is a citizen

  of Oklahoma residing in Tulsa County, Oklahoma. On January 12, 2017, Judge

  Daman Cantrell entered an Order in the State Court action severing Plaintiff's

  claims of breach of contract and bad faith against Safeco from his negligence

  claim against Defendant Bautista. Consequently, Defendant Bautista is no longer

  a party to this litigation and Judge Cantrell's Order renders this case removable.

  See, e.g., Halliburton v. Johnson & Johnson & Ethicon, Inc., 983 F. Supp. 2d 1355,

  1359 (W.D. Okla. Oct. 18, 2013).

        4.    Plaintiff does not oppose removal of this case to federal court.

        5.    In accordance with 28 U.S.C. § 1446(b)(1), this action has been

  removed within thirty (30) days of Judge Cantrell's Order severing Plaintiff's

  claims against Safeco from his claim against Defendant Bautista.




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        6.     The Northern District of Oklahoma includes the state judicial district

  in which Plaintiff filed his Petition.

        7.     This is a civil action over which this Court has original jurisdiction

  based on diversity of citizenship and amount in controversy pursuant to 28

  U.S.C § 1332, and which may be removed to this Court pursuant to 28 U.S.C. §§

  1441 and 1446.

        8.     Contemporaneous with Safeco’s filing of this Notice, Safeco will

  serve written notice to Plaintiffs' counsel of this filing, as required by 28 U.S.C. §

  1446(d).

        9.     Defendant Safeco shall likewise file a true and correct copy of its

  Notice of Removal with the Clerk of the District Court in and for Oklahoma

  County, State of Oklahoma, as required by 28 U.S.C. §1446(d).




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                               Respectfully submitted,

                               s/Margo E. Shipley
                               William W. O’Connor, OBA No. 13200
                               Margo E. Shipley, OBA No. 32118
                               NEWTON O’CONNOR TURNER & KETCHUM, P.C.
                               15 West Sixth Street, Suite 2700
                               Tulsa, Oklahoma 74119-5423
                               (918) 587-0101 telephone
                               (918) 587-0102 facsimile
                               boconnor@newtonoconnor.com
                               mshipley@newtonoconnor.com

                               ATTORNEYS FOR DEFENDANT, SAFECO
                               INSURANCE COMPANY OF AMERICA




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                            CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of January, 2017, I electronically filed
  the foregoing document with the Clerk of the Court using the CM/ECF system,
  which will send notification of such filing to the following:

  Donald E. Smolen, II

  ATTORNEYS FOR PLAINTIFF




                                               s/Margo E. Shipley
                                               Margo E. Shipley




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